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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

 United States of America,
             Plaintiff,                     Case No. 21–cr–20590
 v.                                         HON. SHALINA D. KUMAR

 Bobby Boseman,
           Defendant.
 _______________________________________________

                 Defendant’s Motion to Suppress Evidence
                 and Request for an Evidentiary Hearing

       Now Comes the Defendant Bobby Boseman, by and through his

 attorney Henry M. Scharg, and moves this honorable Court to suppress all

 evidence obtained from the unlawful searches of Defendant‘s premises at

 1915 Tebo St., in the City of Flint on February 26, 2021, March 16, 2021

 and August 3, 2021, conducted by the Flint Police Department, Flint Area

 Narcotics Group ―FANG‖ and the Federal Bureau of Investigation ―FBI‖, in

 violation of the Fourth Amendment to the U.S. Constitution.

       Respectfully submitted,

       /s/ Henry M. Scharg (P-28804)
       Attorney for Defendant
       30445 Northwestern Hwy, Suite 225
       Farmington Hills, Michigan 48334
       (248) 596-1111
       hmsattyatlaw@aol.com

       Dated: December 10, 2022


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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

 United States of America,
             Plaintiff,                        Case No. 21–cr–20590
 v.                                            HON. SHALINA D. KUMAR

 Bobby Boseman,
           Defendant.


                     Certificate Regarding Concurrence


       I certify, in compliance with E.D. Mich. LR 7.1(a)(2)(A), the

 undersigned contacted opposing counsel, Ann Nee, Assistant U.S.

 Attorney, on December 9, 2022, explained the nature of the motion and its

 legal basis, and requested but did not obtain concurrence in the relief

 sought.



       /s/ Henry M. Scharg
       HENRY M. SCHARG (P28804)
       Attorney for Defendant




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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

 United States of America,
             Plaintiff,                     Case No. 21–cr–20590
 v.                                         HON. SHALINA D. KUMAR

 Bobby Boseman,
           Defendant.



                           Brief in Support of
                 Defendant’s Motion to Suppress Evidence
                 and Request for an Evidentiary Hearing

                                   Facts

       Defendant Bobby Boseman is charged in a Second Superseding

 Indictment with two counts of Sex Trafficking and Attempted Sex

 Trafficking by Force, Fraud, and Coercion; Possession with Intent to

 Distribute Cocaine; Possession of a Firearm in Furtherance of a Drug

 Trafficking Crime; three counts of being a Felon in Possession of a Firearm

 and Ammunition; and with Maintaining a Drug Premises. (Sec. Super.

 Indict., ECF No. 22, PageID.69–73).

       Mr. Boseman continuously resided at 1915 Tebo St., in Flint,

 Michigan, between February 2021 and August 2021. On August 3, 2021,

 Flint Police Department Officer Albert Essix was dispatched to the Tebo


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 residence to conduct a ―welfare check.‖ (Exhibit A – Warrant Affidavit

 8/3/21, p. 3). The police received an anonymous 911 call from a female

 who identified herself as a family member of an alleged adult female victim,

 ―V1.‖ The anonymous caller reported to the 911 dispatcher that V1 had

 been missing for a couple of days and that the anonymous caller had

 ―followed‖ V1‘s cell phone to Tebo. Id. The caller also told the police that

 other unidentified individuals informed her that V1 and another alleged

 adult female, ―V2,‖ were tied up and being assaulted in the Tebo residence.

 Id. The Flint Police Officers arrived at the Tebo location about 45 minutes

 after the 911 call was made, and learned that the anonymous caller was no

 longer in the area, but had to leave. (Exhibit A.1 – Chronology of Events).

        At the Tebo residence, Officer Villareal made contact with an

 unknown male through the front door. Id. At the same time, Officer Essix

 saw two unknown females at the rear of the residence who denied

 knowledge of the victims. Id. One of the females drove away from the

 scene, and the other walked away. Id. The unknown male at the doorway

 also left. Id.

        Officer Essix walked to the rear of the residence and saw two

 unknown males looking through a wooden fence behind the house, who fled

 when Essix saw them. Id. at 4. At the same time, another unknown female


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 exited the rear door and walked away from the residence and Essix as he

 attempted to speak with her. Id.

       The officers then entered the house claiming ―concern for the welfare

 of the victims identified in the 911 call.‖ Id. The officers found V1 in a

 bedroom, fully clothed, laying on a couch. Id. She had difficulty speaking,

 complained of rib pain, and had contusions around both eyes. Id. The

 officers found V2 in a different bedroom lying face down with clear fluid

 around her head. Id. Her face and eye were swollen, and her jaw also

 appeared to have been injured. Id. The officers then called for an

 ambulance. Id.

       Later that same day, the Federal Bureau of Investigation ―FBI‖ agents

 obtained a warrant based upon the statements of V1 and V2, who alleged

 that they went to Tebo residence to buy drugs. Id. After getting high for

 several hours, Boseman allegedly accused them of stealing drugs, physically

 assaulted them with a machete, and held them there by armed guards. Id. at

 5. V1 and V2 also alleged that they were sexually assaulted by various

 persons and forced to use a dildo on each other. Id. The ―FBI‖ agents

 executed the warrant and found cash, cell phones, drugs, paraphernalia,

 dildos, a machete, firearms, and ammunition. Id. at 5–6.




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       Earlier the same year, City of Flint Police Officers and members of

 the regional task force ―FANG‖ executed searches of the Tebo residence

 pursuant to search warrants on February 25, 2021, and March 13, 2021,

 respectively. Firearms and drugs were found during each search.




                                  Argument

 I.    Probable cause and exigent circumstances did not exist to
       excuse law enforcement’s warrantless entry and search of
       Defendant Boseman’s residence on August 3, 2021.

       The Fourth Amendment protects ―[t]he right of the people to be

 secure in their persons, houses, papers, and effects, against unreasonable

 searches and seizures . . . .‖ U.S. Const. amend. IV.

       It is a ―basic principle of Fourth Amendment law that searches and

 seizures inside a home without a warrant are presumptively unreasonable.‖

 Payton v. New York, 445 U.S. 573, 586, 100 S. Ct. 1371, 63 L. Ed. 2d 639

 (1980) (citation omitted). Nevertheless, because the touchstone of the

 Fourth Amendment is ―reasonableness,‖ the warrant requirement is subject

 to certain exceptions. Flippo v. West Virginia, 528 U.S. 11, 13, 120 S. Ct. 7,



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 145 L. Ed. 2d 16 (1999). ―[W]arrants are generally required to search a

 person's home or his person unless ‗the exigencies of the situation‘ make the

 needs of law enforcement so compelling that the warrantless search is

 objectively reasonable under the Fourth Amendment.‖ Mincey v. Arizona,

 437 U.S. 385, 393-394, 98 S. Ct. 2408, 57 L. Ed. 2d 290 (1978) (citations

 omitted).

       Relevant to the August 3, 2021 warrantless search, the need to assist

 persons who are seriously injured or threatened with injury is an exigency

 obviating the requirement of a warrant. ―The need to protect or preserve life

 or avoid serious injury is justification for what would be otherwise illegal

 absent an exigency or emergency.‖ Id. at 392 (citation omitted).

 Accordingly, law enforcement officers may enter a home without a warrant

 to render emergency assistance to an injured occupant or to protect an

 occupant from imminent injury. Id. ―[T]he police may not enter a private

 residence without a warrant unless both ‗probable cause plus exigent

 circumstances‘ exist.‖ United States v. McClain, 444 F.3d 556, 561 (6th Cir.

 2006) (citation omitted).

       ―Probable cause is defined as reasonable grounds for belief,

 supported by less than prima facie proof but more than mere suspicion.‖

 United States v. Ferguson, 8 F.3d 385, 392 (6th Cir. 1993) (citation


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 omitted). The establishment of probable cause ―requires only a probability

 or substantial chance of criminal activity, not an actual showing of such

 activity.‖ Illinois v. Gates, 462 U.S. 213, 243 n.13, 103 S. Ct. 2317, 76 L.

 Ed. 2d 527 (1983). However, the ―mere possibility‖ that a crime could be

 occurring within a home is not sufficient to justify a warrantless search; the

 police must have an ―objectively reasonable basis for their belief‖ that a

 crime is being committed. United States v. Ukomadu, 236 F.3d 333, 337

 (6th Cir. 2001). Likewise, mere speculation that a crime could be occurring

 is insufficient to establish probable cause. See McCurdy v. Montgomery

 County, 240 F.3d 512, 519 (6th Cir. 2001).

       To satisfy the exigent circumstances exception, the government ―must

 show that there was a risk of serious injury posed to the officers or others

 that required swift action.‖ United States v. Huffman, 461 F.3d 777, 783

 (6th Cir. 2006). ―This ‗emergency aid exception‘ does not depend on the

 officers‘ subjective intent or the seriousness of any crime they are

 investigating when the emergency arises. It requires only ‗an objectively

 reasonable basis for believing,‘ that ‗a person within the house is in need of

 immediate aid.‘‖ Michigan v. Fisher, 558 U.S. 45, 47, 130 S. Ct. 546, 175

 L. Ed. 2d 410 (2009) (citation omitted).




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       In reviewing whether exigent circumstances were present, a District

 Court considers the ―totality of the circumstances and the inherent

 necessities of the situation at the time.‖ Huffman, 461 F.3d at 783 (citation

 omitted). Indications of the need of aid include reported observations of

 distress, Schreiber v. Moe, 596 F.3d 323, 330 (6th Cir. 2010), and credible,

 reliable evidence that someone inside the home is in trouble. Johnson v.

 City of Memphis, 617 F.3d 864, 869 (6th Cir. 2010). ―This court considers

 whether an officer's belief that an exigency existed was objectively

 reasonable based upon the ‗objective facts reasonably known to, or

 discoverable by, the officers at the time of the search.‘‖ United States v.

 Barclay, 578 F. App'x 545, 548 (6th Cir. 2014) (citation omitted).

       The government must also show that the police had probable cause to

 believe the exigency existed. See United States v. Johnson, 9 F.3d 506, 510

 (6th Cir. 1993) (when the police have probable cause to believe that a

 burglary is in progress, they are also confronted with the necessary

 exigency, that is, the need ―to ensure the protection of everyone on the

 scene and to prevent the loss or destruction of the owner's property.‖)

       In this case, law enforcement only had an allegation of V1 and V2

 being assaulted at the Tebo residence from an anonymous source, or the

 hearsay within hearsay statement of the family member who called the 911


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  dispatcher. There was no information about whether the persons who

  reported the assaults on V1 and V2 had personal knowledge or not. The

  officers did not verify or investigate, or attempt to corroborate the

  allegations before their warrantless entry of Boseman‘s home. There were

  no underlying circumstances provided to show what the anonymous

  informant's conclusion about assault was based, and there was no showing

  of the anonymous informant‘s credibility or the reliability of the information

  required by the U.S. Supreme Court in Aguilar v. Texas, 378 U.S. 108, 114,

  12 L. Ed. 2d 723, 84 S. Ct. 1509 (1964).

        The anonymous allegation of assault did not provide an objective

  basis to believe exigent circumstances existed to enter the house. See

  Kerman v. City of New York, 261 F.3d 229, 235-36 (2d Cir. 2001)

  (concluding that an anonymous 911 call, by itself, provides an insufficient

  basis for a finding of exigency); cf. Florida v. J.L., 529 U.S. 266, 274, 120

  S. Ct. 1375, 146 L. Ed. 2d 254 (2000) (holding that ―an anonymous tip

  lacking indicia of reliability‖ that an individual is carrying a gun is not

  enough to justify a Terry stop).

        The circumstances in this case do not compare with cases where the

  courts have upheld warrantless entries under the exigent circumstances

  exception. In United States v. Johnson, 22 F.3d 674 (6th Cir. 1994), the


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  officers responded to a call that a victim was being held in an apartment

  against her will. Id. at 680. When the police arrived, the 14-year-old victim

  answered the door and told the officers that the defendant had locked her in

  the apartment and would not release her. Id. The victim was alone in the

  apartment and locked in behind an armored gate. Id. The police removed the

  lock from the gate and freed the victim. Id. Under those circumstances, the

  Sixth Circuit found that the police were justified in the limited warrantless

  entry to free the victim. Id.

        In Brigham City v. Stuart, 547 U.S. 398, 126 S. Ct. 1943, 1949

  (2006), the police responded, at 3 o'clock in the morning, to complaints

  about a loud party. Id. at 406. As they approached the house, they could

  hear a loud altercation or fight occurring inside. Id. The officers heard

  ―thumping and crashing‖ and people yelling ―stop, stop‖ and ―get off me.‖

  Id. After looking in the front window and seeing nothing, the officers

  walked around back to investigate further. Id. In back, they could see an

  altercation taking place inside the kitchen. Id. ―A juvenile, fists clenched,

  was being held back by several adults. As the officers watch, he breaks free

  and strikes one of the adults in the face, sending the adult to the sink

  spitting blood.‖ Id. The U.S. Supreme Court held that ―[i]n these

  circumstances, the officers had an objectively reasonable basis for believing


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  both that the injured adult might need help and that the violence in the

  kitchen was just beginning.‖ Id.

        Similarly, in Michigan v. Fisher, 558 U.S. 45, 130 S. Ct. 546, 175 L.

  Ed. 2d 410 (2009), when responding ―to a complaint of a disturbance‖ at a

  residence where a man was ―going crazy,‖ officers ―found a household in

  considerable chaos: a pickup truck in the driveway with its front smashed,

  damaged fenceposts along the side of the property, and three broken house

  windows, the glass still on the ground outside.‖ Id. at 45-46. The police also

  saw ―blood on the hood of the pickup and on clothes inside of it, as well as

  on one of the doors to the house.‖ Id. at 46. Through a window, the officers

  saw a man with ―a cut on his hand … screaming and throwing things.‖ Id.

  An officer entered the house without a warrant, and the Supreme Court held

  that ―the emergency aid exception, as in Brigham City, dictates that the

  officer's entry was reasonable.‖ Id. at 48. The Supreme Court explained that

  (1) the police officers ―were responding to a report of a disturbance,‖ (2)

  ―when they arrived on the scene they encountered a tumultuous situation in

  the house,‖ and (3) ―the officers could see violent behavior inside.‖ Id.

        This case is analogous to Williams v. Maurer, 9 F.4th 416, 435-36

  (6th Cir. 2021), which involved a 42 U.S.C. § 1983 action. In Williams, the

  police similarly responded to a report of a disturbance from an anonymous


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  caller. Id. at 435. But when they arrived on the scene, there was no

  indication of a tumultuous situation in the defendant‘s home, and the police

  did not witness any violent behavior inside the apartment. Id. at 435–436.

  Also, by the time the police entered the defendant‘s apartment without a

  warrant, there was reason to doubt the report of the disturbance. Id. at 436.

  The anonymous caller had explained that she was no longer certain which

  apartment she had heard the screaming coming from. Id. The police heard

  screaming coming from another apartment, and when they looked through a

  window, the did not see any signs of a disturbance. Id. There were also no

  signs of a forcible entry. Id. Consistent with the reasoning of the Brigham

  City and Fisher decisions, the Sixth Circuit held that a reasonable juror

  could conclude that the police lacked an objectively reasonable basis for

  relying on the emergency aid exception to enter the defendant‘s home

  without a warrant. Id.

        This case is also consistent with the facts in United States v. Troop,

  514 F.3d 405 (5th Cir. 2008). In Troop, the defendant was convicted of

  transporting illegal aliens. Id. at 407. Border agents tracked the footprints of

  five individuals that they believed were illegal aliens. Id. They tracked the

  footprints to defendant‘s home. Id. The agents knocked on the door without

  getting an answer, and saw two men sleeping on a bed when they looked


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  through a window. Id. at 408. The agents entered through the window and

  arrested the men inside. Id.

        The Fifth Circuit Court rejected the government‘s argument that there

  were exigent circumstances based on physical distress:

        As evidence that the aliens may have been in physical distress, the
        Government points to the high temperatures that night, the evidence
        that the suspected aliens were fatigued, and the failure of anyone
        inside Troop's house to respond when the agents knocked on the door
        and window. After review of the evidence and testimony presented at
        the suppression hearing, we do not agree that this evidence permits a
        finding of exigent circumstances.

                                        * * *

        [T]he Government points to the fact that the aliens walked some
        distance in ninety-degree heat and showed signs of fatigue at the end
        of their journey as evidence of physical distress. This alone is
        insufficient to demonstrate exigent circumstances requiring an
        immediate entry into the house. * * * [T]here was no evidence of
        medical distress requiring immediate aid, such as loss of blood, signs
        of physical illness, or evidence that an individual had to be carried or
        dragged. The Government also did not present any evidence of what
        type of medical distress is typically produced by a four-mile walk in
        the heat at night, which might have indicated that it was probable that
        the suspected aliens needed aid. Absent any such evidence, it was
        unreasonable for the agents to conclude that the suspected aliens
        likely needed immediate aid based solely on the fact that the aliens
        showed fatigue.

              Without any objective evidence of physical distress, the failure
        of anyone to respond to the agents' knocking at the front and back
        doors of Troop's house also becomes insufficient to create exigent
        circumstances. [Troop, 514 F.3d at 409–410.]




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        Here, not only were the assault allegations made by an anonymous

  source insufficient to allow entry without a warrant, but 45 minutes had

  passed since the family member had called 911. The family member had

  also left the scene before the police arrived. The Flint officers did not

  observe any evidence to support an objective and reasonable belief that V1

  and V2 were being assaulted inside the Tebo residence—there was no

  probable cause to believe an assault had occurred. When they arrived, the

  officers simply saw people leaving the house. The unknown females who

  left denied being V1 or V2. There was no screaming or noise coming from

  inside the house. The officers did not look inside of the house through any

  windows. And there was no indication that they knocked and announced

  their presence, or that they called out for V1 and V2. They simply walked in

  without a warrant based on an unsubstantiated allegation.

        Probable cause and exigent circumstances did not objectively exist to

  excuse the officers‘ warrantless entry into Defendant Boseman‘s residence.

  II.   The February 25, 2021 and March 13, 2021 search warrants
        lacked probable cause to search Defendant Boseman’s
        residence.

        To determine whether probable cause for a search exists, a magistrate

  issuing a warrant must ―make a practical, common-sense decision whether,

  given all the circumstances set forth in the affidavit before him, including


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  the ‗veracity‘ and ‗basis of knowledge‘ of persons supplying hearsay

  information, there is a fair probability that contraband or evidence of a

  crime will be found in a particular place.‖ Illinois v. Gates, 462 U.S. 213,

  238-239, 103 S. Ct. 2317, 76 L. Ed. 2d 527 (1983). A search warrant

  affidavit must contain sufficient allegations to support the magistrate's

  finding that there is a ―nexus between the place to be searched and the

  evidence sought.‖ United States v. Laughton, 409 F.3d 744, 747 (6th

  Cir.2005) (citation omitted).

        An officer's statement that ―[a]ffiants have received reliable

  information from a credible person and do believe‖ that heroin is stored in a

  home, is inadequate. Gates, 462 U.S. at 239 (citation omitted). That would

  be ―a mere conclusory statement that gives the magistrate virtually no basis

  at all for making a judgment regarding probable cause. Sufficient

  information must be presented to the magistrate to allow that official to

  determine probable cause; his action cannot be a mere ratification of the

  bare conclusions of others.‖ Id.


        A.     February 25, 2021.

        The Flint police applied for a search warrant on February 25, 2021.

  (Exhibit B – Warrant Affidavit 2/25/21). The police allegedly received



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  anonymous tips that drug trafficking was being conducted at the Tebo

  residence. Id. at 410. The police conducted surveillance for the 24-48 hours

  before applying for the warrant and saw vehicles pull up to 1915 Tebo, with

  one of the occupants going to the door. Id. That person would stay inside for

  ―a very short period of time‖ and then leave in the vehicle. Id.

        The police conducted traffic stops on ―numerous‖ vehicles that left

  Tebo. Id. During the stops, the police found cocaine, and the persons in the

  vehicle allegedly said that they purchased the narcotics at the Tebo location.

  Id. Those people wished to remain anonymous for their safety. Id.

        One person who was stopped by the Flint police allegedly said that

  there was a black male by the nickname of ―AI‖ who is the contact for the

  house if individuals want to purchase narcotics. Id. ―AI‖ answers the door,

  and another black male nicknamed ―Lob‖ is a part of the operation. Id.

  There were also 5–6 other black males that were inside the residence. Id.

  There were also firearms inside the residence, but no specific names of the

  occupants was given. Id.

        The affidavit also states that Tebo location had been the target of two

  drive-by shootings on April 13, 2020, and January 29, 2021. Id. at 411.

        In the February 25, 2021 warrant affidavit, the affiant used vague,

  undefined terms. The officer says that he saw vehicles pull up to Tebo, but


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  he does not say how many. The officer saw person go inside Tebo for ―a

  very short period of time,‖ but a short time is subjective without a stated

  time. The Flint police conducted traffic stops on ―numerous‖ vehicles that

  left the Tebo location, but we do not know how many vehicles were

  stopped, and of those, how many had cocaine, and how many of the persons

  stopped made statements about any alleged drug activity at Tebo location.

  Id. Finally, the people who did make statements about drug activity at 1915

  Tebo had a motive to fabricate after being pulled over and found to be

  possessing cocaine by telling the police what they wanted to hear, that is,

  there was drug activity at the Tebo location. They also wished to remain

  anonymous for their safety, so their veracity and reliability as informants

  was not substantiated.

        B.    March 13, 2021.

        The members of ―FANG‖ applied for a search warrant for the Tebo

  residence on March 13, 2021. (Exhibit C – Warrant Affidavit 3/13/21). The

  FANG officers allegedly received an anonymous tip that there was ―drug

  activity‖ at Tebo. Id. at 1096 (batch page number). Two officers conducted

  a trash pull on March 12, 2021, directly in front of 1915 Tebo, and found

  ―numerous clear plastic baggies containing a white powder‖ that field tested

  positive for cocaine. Id. The ―FANG‖ officers also conducted five hours of


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  surveillance at 1915 Tebo over a two-day period and saw ―multiple short

  stays‖ by both vehicles and foot traffic. Id.

        In the March 13, 2021 warrant affidavit, the ―FANG‖ officers began

  their investigation with an anonymous tip about drug activity at 1915 Tebo

  St. The officers pulled trash from the Tebo property and found ―numerous

  clear plastic baggies containing a white powder‖ that field tested positive

  for cocaine. However, there was no way for the officers to know whether

  those baggies were brought to the Tebo propety and disposed of there by a

  visitor, and the term ―numerous‖ is subjective. If only three baggies were

  found, that is not sufficient to show probable cause. The officers also only

  conducted one trash pull. Additional trash pulls, at least one more, were

  necessary to establish probable cause that there was actually drug activity at

  the Tebo residence.

        The officers also conducted five hours of surveillance at the Tebo

  residence over a two-day period where they saw ―multiple short stays‖ by

  both vehicles and foot traffic. The terms ―multiple‖ and ―short stays‖ are

  subjective and not defined in the affidavit making an insufficient and vague

  attempt to establish probable cause




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  III.     The evidence must be suppressed under the exclusionary rule,
           and law enforcement did not have an objectively reasonable,
           good-faith belief that their conduct was lawful.

           The evidence seized from Bosman‘s home was obtained as the fruit of

  the officers‘ unlawful entry into Boseman‘s home. The search warrant

  affidavit relied on the statements of V1 and V2. Without their statements,

  obtained from the illegal search, the warrant was lacking in probable cause.

           The Supreme Court created the exclusionary rule—a prudential

  doctrine which prohibits ―evidence obtained in violation of the Fourth

  Amendment [from] be[ing] used in a criminal proceeding against the victim

  of the illegal search and seizure.‖ United States v. Calandra, 414 U.S. 338,

  347, 94 S. Ct. 613, 38 L. Ed. 2d 561 (1974). The rule is ―designed to

  safeguard Fourth Amendment rights generally through its deterrent effect.‖

  Id. at 348. However, ―[t]he fact that a Fourth Amendment violation occurred

  … does not necessarily mean that the exclusionary rule applies." United

  States v. Moorehead, 912 F.3d 963, 967 (6th Cir. 2019) (citation omitted).

           Courts must ask whether ―the deterrence benefits of suppression …

  outweigh its heavy costs.‖ Id. (citations omitted). In the deterrence analysis,

  courts must consider the culpability of the law enforcement conduct at

  issue:




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        [T]he deterrence benefits of exclusion vary with the culpability of the
        law enforcement conduct at issue. When the police exhibit deliberate,
        reckless, or grossly negligent disregard for Fourth Amendment rights,
        the deterrent value of exclusion is strong and tends to outweigh the
        resulting costs. But when the police act with an objectively
        reasonable good-faith belief that their conduct is lawful, or when their
        conduct involves only simple, isolated negligence, the deterrence
        rationale loses much of its force and exclusion cannot pay its way.
        [Davis v. United States, 564 U.S. 229, 238, 131 S. Ct. 2419, 2427-28
        (2011) (citations and brackets omitted).]

        The Supreme Court thus has created a ―good-faith‖ exception to the

  exclusionary rule: the introduction of evidence obtained in violation of the

  Fourth Amendment is permitted in criminal trials when the evidence is

  ―obtained in the reasonable good-faith belief that a search or seizure was in

  accord with the Fourth Amendment.‖ United States v. Leon, 468 U.S. 897,

  909, 104 S. Ct. 3405, 3413 (1984) (citations omitted). Courts must ask

  ―whether a reasonably well trained officer would have known that the

  search was illegal despite the magistrate's decision.‖ United States v. White,

  874 F.3d 490, 496 (6th Cir. 2017) (citations omitted). Leon delineated at

  least four instances in which a well-trained officer would have known a

  search was illegal, thus barring application of the good faith exception:

        [1] [I]f the magistrate . . . was misled by information in an affidavit
        that the affiant knew was false or would have known was false except
        for his reckless disregard of the truth . . . [2] where the issuing
        magistrate wholly abandoned [her] judicial role . . . [3] [where] a
        warrant [is] based on an affidavit so lacking in indicia of probable
        cause as to render official belief in its existence entirely unreasonable


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        . . . [and [4] where] a warrant [is] so facially deficient—i.e., in failing
        to particularize the place to be searched or the things to be seized—
        that the executing officers cannot reasonably presume it to be valid.
        [Leon, 468 U.S. at 923.]


        When law enforcement officials have acted unreasonably, the

  exclusionary    rule   exists   to   suppress     evidence     gained     through

  unconstitutional means. United States v. Calandra, 414 U.S. 338, 348, 94

  S.Ct. 613, 38 L.Ed.2d 561 (1974); Nix v. Williams, 467 U.S. 431, 443, 104

  S.Ct. 2501, 81 L.Ed.2d 377 (1984) (―[T]he way to ensure [constitutional and

  statutory] protections is to exclude evidence seized as a result of such

  violations notwithstanding the high social cost of letting persons obviously

  guilty go unpunished for their crimes.‖).

        This exclusion applies equally ―to the fruits of the illegally seized

  evidence.‖ Calandra, 414 U.S. at 347, 94 S.Ct. 613. The purpose behind

  exclusion is not to remedy the harm suffered by the victim of the illegal

  search, but rather ―to deter future unlawful police conduct and thereby

  effectuate the guarantee of the Fourth Amendment against unreasonable

  searches and seizures.‖ Id.

        In this case, the police acted deliberately when they made a

  warrantless entry into 1915 Tebo St., on August 3, 2021. They walked into

  the Tebo residence like they owned the place, without knocking and


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  announcing their presence, without observing any evidence to corroborate

  the allegations of assault, and without observing any evidence that V1 and

  V2 were actually present at the Tebo residence.

        Also, the February 25, 2021, and March 13, 2021 search warrants

  were based on affidavits so lacking in indicia of probable cause as to render

  official belief in their existence entirely unreasonable. Exclusion in this case

  would protect the right to privacy for others after this case, and it would

  preserve judicial integrity.

  IV.   Entitlement to an evidentiary hearing.

        ―An evidentiary hearing is required ‗only if the motion is sufficiently

  definite, specific, detailed, and non-conjectural to enable the court to

  conclude that contested issues of fact going to the validity of the search are

  in question.‘" U.S. v. Abboud, 438 F.3d 554, 577 (6th Cir. 2006) (citations

  omitted). Defendant Boseman is entitled to an evidentiary hearing because

  he contests issues of fact concerning the officers‘ warrantless entry into his

  home without probable cause or the establishment of exigent circumstances,

  which invalidated their entry and search of his home.

        WHEREFORE, Defendant Bobby Boseman moves this Honorable

  Court to order an evidentiary hearing and to suppress at trial all evidence




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  seized from the 1915 Tebo St., in the City of Flint, Michigan on Feb. 25,

  2021, March 13, 2021, and August 3, 2021.

        Respectfully submitted,

        /s/ Henry M. Scharg
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        Dated: December 10, 2022




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

  United States of America,
              Plaintiff,                       Case No. 21–cr–20590
  v.                                           HON. SHALINA D. KUMAR

  Bobby Boseman,
            Defendant.

                              Certificate of Service

        I certify that on December 10, 2022, I electronically filed the above

  Motion with the Clerk of the Court using the CM/ECF system, which served

  the document(s) to the parties of record.

        /s/ Henry M. Scharg
        HENRY M. SCHARG (P28804)
        Attorney for Defendant




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